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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Corey Leashore,                                  No. CV-19-02912-PHX-SMB
10                  Plaintiff,                        ORDER
11   v.
12   Ushio America Incorporated, et al.,
13                  Defendants.
14
15          Pursuant to the Stipulation for Dismissal with Prejudice (Doc. 22),
16          IT IS ORDERED dismissing this matter with prejudice, each party to bear their own
17   costs and attorneys’ fees.
18          Dated this 30th day of August, 2019.
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